                          UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                        )
LINCOLN-SUDBURY REGIONAL                )
SCHOOL DISTRICT,                        )       Civil Action
                                        )       No. 1:16-CV-10724-FDS
                           Plaintiff,   )
v.                                      )
                                        )
MR. AND MRS. W.,                        )
                                        )
                           Defendants )
WALLIS and                              )
MR. and MRS. W.,                        )
                                        )
            Plaintiffs-in-Counterclaim )
v.                                      )
                                        )
LINCOLN-SUDBURY REGIONAL                )
SCHOOL DISTRICT and                     )
                                        )
BUREAU OF SPECIAL EDUCATION             )
APPEALS,                                )
            Defendants-in-Counterclaim. )
____________________________________)


     MEMORANDUM OF REASONS IN SUPPORT OF DEFENDANTS’/PLAINTIFFS’ IN
         COUNTERCLAIM MOTION TO SUPPLEMENT AND CORRECT THE
                      ADMINISTRATIVE RECORD

I.       INTRODUCTION

      This action was initiated by Lincoln Sudbury Regional School District (“District”). In its

complaint the District seeks to recover its attorney’s fees, costs and expenses incurred in the

administrative proceeding before the Massachusetts Bureau of Special Education Appeals

(“BSEA). After a multiple day hearing the BSEA issued a decision in favor of the District on all

remaining issues and included findings that Mr. and Mrs. W.’s claim was frivolous, in bad faith,

and brought for improper purposes. The W.s answered denying the foregoing findings and
counterclaimed asserting, among other matters, that Wallis was categorically disabled due to a

concussion she had suffered during a high school varsity field hockey practice and that the

District had failed to comply with the Child Find mandate that she be evaluated for special

education services due to her categorical disability, failed to develop an Individual Education

Plan or 504 plan and are entitled to reimbursement for tuition and related expenses incurred from

their unilateral placement of Wallis at Lawrence Academy.

      Wallis and her parents now move to submit additional evidence to supplement the

Administrative Record and, additionally, to correct that record.

II.      ARGUMENT

      The purpose of the Individuals with Disabilities Education Act (“IDEA”) is to ensure that all

disabled children have access to a free and appropriate public education with an emphasis on

special education services designed to meet the unique needs of the disabled child. 20 U.S.C. §

1400(d)(1)(A). IDEA provides for procedural safeguards to the student and her parents

including the right to a due process hearing before an impartial hearing officer and the right to

review of the hearing officer’s decision in federal court. See 20 U.S.C. § 1415(f)-(g). On

judicial review, the IDEA provides that the court “shall receive the records of the administrative

proceedings; shall hear additional evidence at the request of a party; and basing its decision on

the preponderance of the evidence, shall grant such relief as the court determines is appropriate.”

20 U.S.C. § 1415(i)(2)(C).

      In the First Circuit, the provision regarding evidence in addition to that within the

administrative record has been construed to mean supplemental evidence. The additional

evidence should supplement the record, not merely embellish or duplicate evidence already in




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the administrative record. Burlington v. Dept. of Educ. for Comm. of Mass., 736 F.2d 773, 790

(1st. Cir. 1984).

    Burlington provided some examples of situations where supplementation would be

appropriate such as gaps in transcripts, the unavailability of a witness, the improper exclusion of

evidence and evidence of relevant events occurring after the administrative hearing. Id. The

First Circuit further expounded upon the issue in Roland v. Concord School Comm., 910 F.2d

983 (1st. Cir. 1990). There, the district court had precluded the parent appellants from

introducing additional evidence in the form of the testimony of three medical expert witnesses

who had treated their child. Id. at 996. The district court had excluded the proffered testimony

on the ground that the parents’ attorney had deliberately withheld the testimony of the experts at

the administrative hearing despite the exhortations of the hearing officer to produce the

witnesses. Id. The Town attempted to subpoena the witnesses to appear but only one testified,

and over the parents’ objection. Id. The Court held that in these circumstances the trial court

was well within its discretion to exclude the testimony of the proffered witnesses. Id. A party

that seeks to supplement the administrative record with additional evidence must present some

“solid justification for doing so.” Id. The appellants had every opportunity to have the proffered

evidence heard at the administrative level but their lawyer “had deliberately withheld the

testimony . . . .”, id. (quoting district court findings), and was in fact admonished to produce the

witnesses by the hearing officer but refused to do so . Id. at 996, n. 6. In conclusion, the Court

stated:

          To be sure, district courts are empowered to hear testimony not presented before
          the state agency. Yet, that power is a hedge against injustice. Injustice cannot
          credibly be claimed when, as here, parties willfully elect to leapfrog the agency
          proceedings. While “the legislative history of the Act reflects the understanding
          that exhaustion is not a rigid requirement ... litigants are discouraged from
          weakening the position of the agency by flouting its processes.” Counsel’s



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        unfounded disdain for the administrative process, without more, cannot persuade
        us to ignore both our own precedents and the elaborate protocol mandated by
        Congress. We discern no abuse of the lower court’s sound discretion in this
        situation.

Id. at 997 (internal citations omitted).

    As set forth below, there are solid justifications for this Court to exercise its authority to

receive the additional evidence offered by Wallis and her parents.

A.     The BSEA Improperly Narrowed The Issues To Preclude Consideration Of The
District’s Non-Compliance With The Head Injury Regulation

    The primary issue of this case was aptly framed by HO Figueroa in her January 14, 2015

Ruling On Lincoln-Sudbury Regional School District’s Motion To Dismiss/Motion For

Summary Decision, to wit: “Whether Student is or was disabled as a result of the concussion she

sustained in September 2012 and, as a result, should have been identified by the District and

provided services pursuant to an IEP or a Section 504 plan, is the central question in this case.”

(R. Vol. I, 528). However, the same Ruling effectively eliminated from consideration the

District’s alleged non-compliance with the state regulation entitled Head Injuries and

Concussions in Extracurricular Athletic Activities, 105 C.M.R. 201, on the basis that the

regulation was beyond the purview of the BSEA.1 See (R. Vol. I, 527).

    By narrowing the issues such that any consideration of the Head Injury Regulation (“HI

regulation”), its definition of Traumatic Brain Injury to expressly include students diagnosed



1
  As framed, the issue was whether the parents were entitled to compensation for the District’s
violations of 105 C.M.R. 201. (R. Vol. I, 527). However, while acknowledging that
compensation for violations of the regulation were beyond the jurisdiction of the BSEA, the
parents asserted that the issue of the District’s compliance or non-compliance with the regulation
should be considered as integral to the central issue of the case. (R. Vol. I, 132). And in their
Opposition to the District’s Motion to Dismiss, the parents argue that consideration of the HI
regulation and related materials would demonstrate that the District knew or had reason to
suspect Wallis was disabled due to the concussion but failed her in its Child Find obligations.
(R. Vol. I, 227, ¶ 3).

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with concussion, its training requirements and its mandate to initiate a graduated reentry plan for

resumption of a concussed student’s studies, the BSEA failed to consider relevant law within its

purview. As a result, evidence was excluded that would have shown that Wallis was in fact

categorically disabled with Traumatic Brain Injury and had the District complied with the

training and concussion mitigation aspects of the law, which it had not, it would have gone a

long way towards fulfillment of its Child Find obligations.

1.      Categorical Disability under Special Education Law

     Under the Massachusetts Special Education Regulation, 603 CMR 28.02, generally for a

student to be eligible for special education services she must be under 21 years old, categorically

disabled and as a consequence of the disability is unable to progress effectively in the general

education program without special education services. See 603 C.M.R. 28.02.

     Special education law sets forth categorical areas of disability. Under the IDEA Traumatic

Brain Injury (“TBI”) is one such category. 20 U.S.C. § 1401(3)(i); 34 C.F.R. 300.8(a)(1). The

state regulation also sets forth TBI as a categorical disability within the broader category of

Neurological Impairment and provides:

        The capacity of the nervous system is limited or impaired with difficulties
        exhibited in one or more of the following areas: the use of memory, the control
        and use of cognitive functioning, sensory and motor skills, speech, language,
        organizational skills, information processing, affect, social skills, or basic life
        functions. The term includes students who have received a traumatic brain injury.

603 C.M.R. 28.02.

1.      Child Find

     Child find places an affirmative duty on the District to identify students suspected of

disability, regardless of the severity of their disability, and to evaluate them to determine if they

are eligible for special education services. 20 U.S.C. 1412(a)(3)(A); 34 C.F.R. 111. Here, the




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District knew or should have suspected that Wallis was disabled due to her concussion but failed

to conduct any evaluations consistent with the requirements of Child Find to determine if she

was in need of special education services. Child Find regulations make clear that the burden for

identifying disabled students and evaluating them for special education services lies with the

school. Under federal law, where disability is suspected, an initial evaluation of the child must

occur within 60 days unless the state establishes a shorter time frame. 34 C.F.R. § 300.301.

Massachusetts has established a shorter time frame and requires an initial evaluation within 30

days. 630 C.M.R. 28.04(2). The only exceptions from the mandate to conduct a timely initial

evaluation are where a parent repeatedly refuses to produce the child for evaluation or if, within

the mandated time period, the child has been enrolled in another public school, 34 C.F.R. §

300.301(d), neither of which are applicable here.

   Consistent with federal law, state regulations set forth detailed formal requirements for

persons conducting the evaluation together with the nature of the assessments of the child

including a narrative description of the child’s educational and developmental potential. 603

C.M.R. 28.04(2)(a). The regulation further requires: “Each person conducting an assessment

shall summarize in writing the procedures employed, the results, and the diagnostic impression,

and shall define in detail and in educationally relevant and common terms, the student’s needs,

offering explicit means of meeting them.” 603 C.M.R. § 28.04(2)(c).

   In sum, and as developed further below, under the pertinent regulations, when the District

had reason to suspect that Wallis had suffered a concussion it was required to conduct an initial

evaluation within 30 days to determine if she was a disabled student in need of special education

services. The District had reason to suspect Wallis’ disability, in fact had direct knowledge on

September 30, 2012, the day she suffered the head injury during varsity field hockey practice. It




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is undisputed that the District failed to conduct the required evaluation and as a result failed in its

Child Find obligations.

2.      The HI regulation and related evidence should have been considered by the HO

     As follows, it should have been readily apparent to the District and its attorney that the HI

regulation and related evidence were highly relevant to the BSEA proceedings. Yet the District

and its attorney succeeded in having consideration of the District’s non-compliance with the

regulation excluded. Under state special education law the HI regulation is relevant to the

circumstances of this case and within the purview of the BSEA. The state special education

statute provides:

        There shall be a bureau of special education appeals which shall provide
        adjudicatory hearings . . . for resolution of disputes between and among parents,
        school districts, private schools and state agencies concerning: (i) any matter
        relating to the identification, evaluation, education program or educational
        placement of a child with a disability or the provision of a free and
        appropriate public education to the child arising under this chapter and
        regulations promulgated hereunder or under the Individuals with Disabilities
        Education Act, 20 U.S.C. section 1400 et seq., and its regulations; or (ii) a
        student's rights under Section 504 of the Rehabilitation Act of 1973, 29 U.S.C.
        section 794, and its regulations.

M.G.L. c. 71B, § 2A(a)(emphasis added). And Section three of the statute, which addresses the

identification and evaluation of disabled students, contemplates that in order for a school district

to meet its mandate under the statute it must consider not only the “regulations, guidelines and

directives” of the Department of Education, but should also consider those regulations, directives

and guidelines promulgated by the Department of Public Health (“DPH”), among other

departments, that are relevant to the mandate of the statute. See M.G.L. c. 71B, § 3.

     The DPH issued such a regulation, the HI regulation, in effect prior to the 2012-2013 school

year, pursuant to the mandate of M.G.L. c. 111, § 222. The regulation sets forth the minimum

standardized policies and procedures to be implemented by public school districts, see 105



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C.M.R. 200.001 et seq., for the “prevention, training, management and return to activity

decisions regarding students who incur head injuries while involved in extracurricular athletic

activities,” 105 C.M.R. 201.001.

   In accordance with the regulation, school districts were required to initiate a written

graduated reentry plan for a student’s return to full academics where the student has been

diagnosed with concussion. 105 C.M.R. 201.010(E). The development of the reentry plan

requires the participation of the student’s doctor, parents, teachers, guidance counselor, school

nurse, and other relevant school staff, and of particular relevance here, contemplates the

involvement of the school’s special education team. 105 C.M.R. 201.010(E)(1). The regulation

provides:

       Each student who is removed from practice or competition and subsequently
       diagnosed with a concussion shall have a written graduated reentry plan for return
       to full academic and extracurricular athletic activities.
       (1) The plan shall be developed by the student's teachers, the student's guidance
       counselor, school nurse, certified athletic trainer if on staff, neuropsychologist if
       available or involved, parent, members of the building-based student support and
       assistance team or individualized education program team as appropriate and in
       consultation with the student's primary care provider or the physician who made
       the diagnosis or who is managing the student's recovery.
       (2) The written plan shall include instructions for students, parents and school
       personnel, addressing but not be limited to:
       (a) Physical and cognitive rest as appropriate;
       (b) Graduated return to extracurricular athletic activities and classroom studies as
       appropriate, including accommodations or modifications as needed;
       (c) Estimated time intervals for resumption of activities;
       (d) Frequency of assessments, as appropriate, by the school nurse, school
       physician, team physician, certified athletic trainer if on staff, or
       neuropsychologist if available until full return to classroom activities and
       extracurricular athletic activities are authorized; and
       (e) A plan for communication and coordination between and among school
       personnel and between the school, the parent, and the student's primary care
       provider or the physician who made the diagnosis or who is managing the
       student's recovery.

105 C.M.R. 201.010(E).




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    In addition, the HI regulation provides the necessary and undeniable link between

concussion and the categorical disability TBI.

       Traumatic Brain Injury (TBI) means a complex pathophysiological process
       affecting the brain, induced by traumatic biomechanical forces. TBI may be
       caused either by a direct blow to the head, face, neck or elsewhere on the body
       with an impulsive force transmitted to the head. TBI includes, but is not limited
       to, a concussion.

105 C.M.R. 201.005 (emphasis supplied)2.

    Despite the clear mandate requiring the District to implement a written reentry plan for

Wallis consistent with 105 C.M.R. 201.010(E), together with the regulation’s express

classification of concussion as a form of TBI, a categorical disability under both state and federal

special education law, which should have triggered the District’s Child Find obligation to

evaluate Wallis, the summary of the evidence demonstrates that the District utterly failed in the

duty owed Wallis: Gail Nozik, a school nurse, testified that the nursing staff is trained and has

experience treating students diagnosed with concussion.3 She further testified that the nursing

staff is involved in developing 504 plans and IEPs for students with medical issues. That while

the nursing staff was aware that Wallis had suffered a concussion and that fact had been entered

in the District’s student record system with an alert sent to Wallis’ teachers and guidance

counselor, her testimony also reveals that, in derogation of the standard of care set forth in 105



2
  The regulation also defines concussion as “a complex disturbance in brain function, due to
direct or indirect trauma to the head, related to neurometabolic dysfunction, rather than structural
injury.” 105 C.M.R. 201.005. Here, it is not disputed that Wallis was diagnosed with a
concussion.
3
  M.G.L. c. 111, § 222(a) provides: “In developing the [training] program, the division may use
any of the materials readily available from the Centers for Disease Control and Prevention.”
Excerpts of these training materials are included in (Supp. P-8, Vol. IV, 1976-2015). Heads Up
to Schools; Know Your Concussion ABCs poses the question “What is a concussion?” and
answers that “[a] concussion is a type of traumatic brain injury (TBI) that results from a bump,
blow or jolt to the head . . ..” (Supp. P-8, Vol. IV, 1977).

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C.M.R. 201.000 et seq. and particularly 105 C.M.R. 201.010(E), the nursing staff took a hands

off approach with respect to Wallis’ concussion. (R. Vol. II, 1367, ¶ 6). Another school nurse,

Janet Cavallo, also “extensively trained in concussion management,” testified that during the

2012-2013 school year the District’s response to students with concussions was “driven by the

reports and instructions from the affected student’s doctor and parents” and that “[t]he role of the

school nurse was to implement the instructions.” As for the medical clearances and reentry plans

contemplated by the HI regulations her testimony also reveals the District’s non-compliance with

the HI regulations: during the 2012-2013 school year there were no medical clearance forms and

the “post concussion gradual reentry plan was limited to returning to participation in sports . . ..”

(R. Vol. II, 1367, ¶ 7). And, as with nurse Nozik, Cavallo’s testimony also reveals that the

District improperly placed the onus on Wallis and her parents to take the initiative in Wallis’

post-concussion recovery and return to academics. (R. Vol. II, 1367, ¶ 7). In stark contrast to

the District’s policy as revealed by its nurses, the HI regulation explicitly requires that the

District’s response to students with concussion be “driven” by the school nurses and other school

staff. The summary of evidence continues with further examples of the District’s non-

compliance with the HI regulation demonstrating its disregard for the duty it owed to Wallis and

her parents. See e.g. (R. Vol. II, 1368, ¶¶ 8, 10, 12). Thus, the District not only failed to

implement an appropriate written plan for Wallis’ reentry to academics consistent with the

regulation, in shirking its own duties under the HI regulation and Child Find it inappropriately

placed the burden on Wallis and her parents to take the initiative and, presumably, only then

would the District be required to take action to comply with the relevant law. Because of the

framing of issues, the District’s compliance or non-compliance with the standards of the HI

regulation was converted to whether or not the District complied with Wallis’ doctor’s note, (R.




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VII, 1380, ¶ 1), which in the context of this case should have been a non-issue or at most a part

of the larger issue respecting the fulfillment of the District’s obligations under Child Find and the

HI regulation. Thus framed and without consideration of the duties owed Wallis and her parents

under the HI regulation, the HO decided that the District’s efforts in complying with Wallis’

doctor’s note and by its uncoordinated and makeshift overall response to Wallis’ resumption of

academics, albeit without any appropriate evaluations, were “sufficient to meet [its] child find

obligations in this instance.” See (R. VII, 1380-81, ¶¶ 1 & 2).

    Again, for a student to be eligible for special education services under state law the student

must be categorically disabled and, as a result of her disability, is unable to progress effectively

in the general education program. See 603 C.M.R. 28.02 (Eligible Student). In determining

whether the student is progressing effectively, the individual learning potential of the student

must be considered. 603 C.M.R. 28.02 (Progress Effectively in the General Education Program).

In conducting an initial evaluation for special education services, a school district must

thoroughly evaluate the student’s educational potential. 603 C.M.R. 28.04(2)(a)2. The District

introduced Wallis’ report cards for the Spring of 2012, before her concussion, and for the Fall

and Spring of 2012 and 2013. Despite the reported grades demonstrating a fall-off in Wallis’

achievement in Spanish, Science and Math, (Dec. 12, ¶ 29), the HO nevertheless found that

Wallis had made effective progress during the 2012-2013 school year.4 (Dec. 19, ¶ 9). Clearly

this fall-off could have been attributed to her TBI. In addition to establishing that concussion is a

4
  In fact, at the hearing the HO interjected while Mrs. W. was questioning the head of special
education services, Ramos, she asked if Ramos thought Wallis was disabled at the time the
witness sent she had sent a consent for evaluation form in 2013. Ramos answered no. Mrs. W.
followed up asking what the basis of here determination was that Wallis was not disabled and
Ramos referred to the school nurses’ testimony and that “[Wallis] was performing in school. She
was getting good grades.” Ramos was the asked how she knew they were good grades which
elicited an objection at which time the HO interjected that “the legal standard is passing.” (R.
Trans. 2-176 to 177).

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form of TBI, (Supp. Ex. A 3, ¶ 9), the affidavit of Dr. Beasley establishes that a student

recovering from a concussion may be capable of functioning academically at their pre-

concussion level in one subject while struggling in others. And that this dichotomy would be

more apparent in subjects such as math and foreign languages and, further, that a focus in such

studies may worsen concussion symptoms. See (Supp. Ex. A 4, ¶14; Ex. a;), (R. Vol. IV 2075-

77 (P-18)) and compare (Supp. Ex. B).

3.     Had the HI regulation and related evidence been considered it would have established
that Wallis was categorically disabled.

    The threshold issue of the BSEA hearing was whether or not Wallis was categorically

disabled. However, while recognizing that Wallis was in fact diagnosed with a concussion, the

HO failed to make the link between concussion and traumatic brain injury or neurological

impairment. In her ultimate findings of fact the HO states: “there is no evidence to support a

determination that Wallis had a disability as defined by 20 U.S.C. § 1401; 29 U.S.C. 794;

M.G.L. c. 71B; or any time during the 2012-2013 academic year.” (R. VII, 1380, ¶ 11). This is

clear error. Had the W.s been allowed to introduce evidence relating to the HI regulation and/or

the HO had reviewed the regulation, the link would have been established, or should have been,

as a matter of law.5 Based on the definitions contained in the HI regulation and its training

requirements, at all relevant times the District knew or should have known that the HI regulation

establishes that a student diagnosed with concussion is categorically disabled and as such the

District had the affirmative duty to evaluate her for special education services pursuant to its



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  The BSEA Hearing Rules provide: “The parties may offer as evidence documents that they
have exchanged prior to the hearing in accordance with these rules. At the hearing, the Hearing
Officer may permit or request the introduction of additional documentary evidence where no
prejudice would result to either party.” BSEA R. X.C.1. Subpart 3 provides: “Regulations and
statutes may be put into evidence by reference to the citation or by submitting a copy of the
pertinent regulation or statute.” BSEA R. X.C.3.

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Child Find obligations. The record is devoid of any indication that the District met its

obligations.

B.      This Court Should Accept Additional Evidence As A Hedge Against Injustice

      Unlike the parents in Roland, here the parents were self-represented. To be sure, they made

procedural mistakes along the way in the BSEA proceeding ultimately resulting in an order

precluding them from offering exhibits. (R. Vol. II, 983). Perhaps this and other missteps would

not have occurred had they been represented by an attorney. To now prohibit the proffered

additional evidence would be particularly harsh to the parents and Wallis.

     Unlike in Roland, where the town had attempted, over the parents’ attorney’s objection, to

have relevant evidence introduced by way of the parents’ experts, 910 F.2d at 996-97, here it was

the District that fought and succeeded to have excluded relevant issues, law and evidence which

would have assisted the HO, and will assist this Court, in answering the questions of whether

Wallis was categorically disabled; whether she was making effective academic progress in

relation to her unique abilities; whether the District met its obligations under Child Find; and

whether the District failed to provide Wallis with a free and appropriated public education.

     As the affidavit of Mrs. W. demonstrates, the parents had good faith, and in part altruistic,

motivations for initiating the BSEA proceedings. (Supp. Ex. D, 1-4). They attempted to

diligently present their claims through what can only be characterized as contentious

proceedings. (Supp. Ex. D, 4-5). They were frustrated by the HOs’ inaction on their motions to

compel production of documents, particularly with respect to the District’s failure to produce

Wallis’ full academic record. (R. Vol. I, 643-49; Vol. II, 702-03, ¶¶ 8-9). They were further

frustrated by the HO’s late order requiring them to produce transcripts of audio recordings of




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meetings they and Wallis had had with the District’s staff.6 (R. Vol. II, 702, ¶ 7; 739). They

were confused by the HO’s Clarification Order of March 4, 2015, providing that “no document

that has not been exchanged in response to discovery shall be included in the exhibit book unless

said document is received post March 9, 2015. (R. Vol. II, 691 ¶ 1). The parents took this to

mean that they would be prohibited from introducing documents that they had not received

directly from the District in response to formal discovery and, consequently, that they could not

use relevant documents they had in their possession, such as email exchanges with District staff,

or that they obtained through informal discovery or pre-hearing public records requests. (Supp.

Ex. D, 4-5). The parents attempted to have this clarified by their letter dated March 10, 2015, (R.

Vol. II, 698-700 ¶¶ 2,3). The clarification they sought was not helpful. The HO simply referred

the parties back to the Order that caused the confusion and ordered that exhibits and witness list

must be exchanged by March 31, 2015. (R. Vol. II, 739). Consequently, other than three

exhibits allowed into evidence during the hearing, the parents were precluded from introducing

documentary evidence.

    Nevertheless, and despite the impossible position they thought they were in, the parents

decided to continue with the process hoping that they would be able to submit some relevant

evidence when the hearing continued and make progress through testimonial evidence. (Supp.

Ex. D, 4-5 ¶ 16). However, from the beginning, the HO made it apparent that she would hold

Mrs. W. to the rules of direct examination,7 e.g. (R. Trans. 2-72 to 81), a skill that many

attorneys have difficulty mastering. As the hearing progressed Mrs. W. was prepared to submit



6
 These transcripts are submitted herewith as Exhibits I, J, and K.
7
 The BSEA Hearing Rules provide: The Hearing Officer shall not be bound by the rules of
evidence applicable to courts, but shall observe the rules of privilege recognized by law.
Evidence shall be admitted only if it is the kind of evidence upon which reasonable persons are
accustomed to rely in the conduct of serious affairs. Hearing Rules for Special Ed. App. R. X.C.

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documents and the recordings of the meetings with District staff in order to refresh and counter

various witnesses’ lapses in memory, but she was largely prohibited from doing so. In the end,

believing it to be a lost cause the parents decided against offering their testimony or that of

Wallis and their experts. They nonetheless attempted to make a final effort at stating their case

and to express their frustrations with the process in their closing argument. (Supp. Ex. D, 7 ¶¶

22-23); (R. Vol. IV, 1789-1865 (closing argument)).

C.      Summary Of Supplementary Evidence
     As set forth in the Tables Of Supplemental Evidence, Documents Filed With But Missing
From The Administrative Record, And Corrections To The Table Of Contents Of The
Administrative Record Filed In Support Of Defendants’/Plaintiffs’ In Counterclaim Motion To
Supplement And Correct The Administrative Record submitted herewith, the majority of the
additional evidence requested to be considered by this Court was submitted by the W.s as
exhibits to their closing argument, and is included in the Administrative Record, but not
considered by the HO in her Decision. This material is identified as P-1, P-2 and etcetera in the
Tables. Additional material is being submitted with the Motion and identified in the Tables as
Exhibits A-K and Exhibit a (submitted with but omitted from the Administrative Record). Much
of this material is relevant to the issue of whether a concussion is a TBI and is therefore a
categorical disability under special education law, what the District knew or should have known
respecting concussion and TBI, and/or the Districts policies relating to Child Find. (Ex. A, C, D,
P-1, P-3, P-8, P-9, P-14, P-16, P-21). Other material is relevant to the issue of Wallis’
educational potential and whether she was effectively progressing academically. (Ex. B, C, D).
Other exhibits, whether part of parents exhibits submitted with their closing argument or
submitted herewith, would tend to establish that the District’s staff observed symptoms of post-
concussion in their interactions with Wallis, and that, at a minimum, the parents had
constructively requested that Wallis be evaluated for special education services. In addition,
documents identified in the tables as BSEA-30.5, 51.5 and 78.5, and submitted herewith, are
documents that were filed with the BSEA but are missing from the Administrative Record filed
by the BSEA. Lastly, the Tables set forth corrections to the Administrative Record Table of
Contents.



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III.       CONCLUSION
       For the reasons stated, there is solid justification for this Court to exercise its authority and
discretion and allow Wallis and her parents to submit additional evidence to supplement the
Administrative Record.



Dated: December 30, 2016                                   Respectfully submitted,
                                                           Defendants and
                                                           Plaintiffs-in-Counterclaim,
                                                           By their attorney,

                                                           /s/ John N. Morrissey
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                                                           (508) 358-2027
                                                           johnmrrssy@yahoo.com

                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

      I certify that in an effort to narrow the issues presented by this motion, I conferred with
counsel for Lincoln-Sudbury Regional School District and counsel for the BSEA, prior to the
filing of this motion.

                                                           /s/ John N. Morrissey
                                                           John N. Morrissey


                                     CERTIFICATE OF SERVICE
      I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on December 30,
2016.



                                                           /s/ John N. Morrissey
                                                           John N. Morrissey




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